                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA

                              Lynchburg Division
   UNITED STATES OF AMERICA,          )    Case No. 6:14-cv-OOOOS
                                     )
         Plaintiff,                  }
                                     )
   v.                                )
                                     )
   WILLIAM L. WALLIS,                )
                                     )
         Defendant.                  )
                   AMENDED DECLARATION OF GARY M. BOWMAN


         I am Gary M. Bowman.     I am over eighteen years of age and am
   competent to make this Declaration.       This declaration amends the
   Declaration filed by me on March 27, 2015. The portions of the
   March 27, 2015 declaration that are deleted herein are shown by
   strikeouts, and the portions added to this declaration are shown
   in italics.
   1.    On January 16, 2014, the plaintiff filed a Complaint,
   seeking a judgment against the defendant for 13 separate Trust
   Fund Recovery Penalties (TFRPs)(which are listed in the Complaint
   as "Type of Tax"), but the Complaint did not state the identity
   of the corporate entities from which the TFRPs arose.
   2.    On March 12, 2014, the defendant filed an Answer, which
   alleged that the TFRP assessments, and the collection of the tax,
   was time-barred. Answer, 1J1 6-7 7 10-11.
   3.   United American Holdings, Inc. was liquidated in bankruptcy
   by a Chapter 7 Bankruptcy Trustee in Case No. 01-00307.          The
   bankruptcy case was filed on January 29, 2001 and was closed on
   January 31, 2002.




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   4.    On April 21, 2014, the defendant propounded        Interrogatory
   No. 5 to the plaintiff, as follows:
         INTERROGATORY NO. 5: Please state the basis for the
         assessment of 6672 tax against the defendant.
   5.    On May 27, 2014, the defendant responded by stating: "The
   information can be obtained through review of the Trust Fund
   Recovery Penalty files, the non-privileged portions of which will
   be produced."    The defendant did not produce the Trust Fund
   Recovery Penalty files at that time, however, leaving the
   defendant with no information as to the basis of the assessment
   of the TFRPs.
   6.   On June 6, 2014, the plaintiff produced to the defendant (as
   Bates Stamp Nos. 609-677) a copy of the United American Holdings,
   Inc. Trust Fund Recovery Penalty files, which contained no
   information as to whether United American Holding, Inc. filed the
   941 returns which are the basis of the TFRPs assessed against Mr.
   Wallis.   Form 2751 ("Proposed Assessment of Trust Fund Recovery
   Penalty")(attached to the defendant's memorandum as Exhibit C) in
   the files (USA 0657) showed that tax returns were filed for seven
   quarters identified in the complaint and TFRPs were assessed for
   those quarters, all relating to United American Holdings, Inc.
   There was no other Form 2751 in the TFRP file relating to United
   American Holdings, Inc.     The defendant inferred from the
   plaintiffs interrogatory answer and the TFRP file (which
   included the Form 2751) that the seven TFRPs listed on Exhibit A
   as ID Nos. 8 and 8A, 9, 10, 11 and 11A, 12 and 12A, 13, 14 and
   14A related to United American Holdings, Inc.
   6.   On June 11, 2014, the defendant propounded Requests for




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   Admissions to confirm its inference.        The defendant propounded
   Request for Admission 20, which stated:
         20. Please admit that United American Holdings, Inc.
         filed on April 30, 2000 a 941 tax return for the period
         ending March 31, 2000,
   7.    On July 23, 2014, the plaintiff responded to Request for
   Admission 20, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about April 30, 2000 United American Holdings, Inc.
         filed an employment tax (Form 941) return for the tax
         period ending March 31, 2000.
   8.    On June 11, 2014, the defendant propounded Requests for
   Admissions 23, which stated:
         23. Please admit that United American Holdings, Inc.
         filed on July 31, 2000 a 941 tax return for the period
         ending June 30, 2000.
   9.    On July 23, 2014, the plaintiff responded to Request for
   Admission 23, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about July 31, 2000 United American Holdings, Inc.
         filed an employment tax (Form 941} return for the tax
         period ending June 30, 2000.
   10.   On June 11, 2014, the defendant propounded Requests for
   Admissions 26, which stated:
         26. Please admit that United American Holdings, Inc.
         filed on October 31, 2000 a 941 tax return for the
         period ending September 30, 2000.
   11.   On July 23, 2014, the plaintiff responded to Request for
  Admission 26, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about October 31, 2000 United American Holdings,
         Inc. filed an employment tax (Form 941) return for the
         tax period ending September 30, 2000.




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   12.   On June 11, 2014, the defendant propounded Requests for
   Admissions 30, which stated:
         30. Please admit that United American Holdings, Inc.
         filed on July 31, 2000 a 941 tax return for the period
         ending December 31, 2000.
   13.   On July 23, 2014, the plaintiff responded to Request for
   Admission 30, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about January 31, 2001 United American Holdings,
         Inc. filed an employment tax (Form 941) return for the
         tax period ending December 31, 2000.
   14.   On June 11, 2014, the defendant propounded Requests for
   Admissions 35, which stated:
         35. Please admit that United American Holdings, Inc.
         filed on July 3, 2002 a 941 tax return for the period
         ending March 31, 2001.
   15.   On July 23, 2014, the plaintiff responded to Request for
   Admission 35, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about July 3, 2002 United American Holdings, Inc.
         filed an employment tax (Form 941) return for the tax
         period ending March 31, 2001.
   16.   On June 11, 2014, the defendant propounded Requests for
   Admissions 38, which stated:
         38. Please admit that United American Holdings, Inc.
         filed on July 3, 2002 a 941 tax return for the period
         ending June 30, 2001.
   17.   On July 23, 2014, the plaintiff responded to Request for
  Admission 38, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about July 3, 2002 United American Holdings, Inc.
         filed an employment tax (Form 941) return for the tax
         period ending June 30, 2001.




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   18.   On June 11, 2014, the defendant propounded Requests for
   Admissions 42, which stated:
         42. Please admit that United American Holdings, Inc.
         filed on July 3, 2002 a 941 tax return for the period
         ending September 30, 2001.
   19.   On July 23, 2014, the plaintiff responded to Request for
   Admission 38, as follows, in language which itself drafted:
         RESPONSE: The United States objects to this request as
         vague and ambiguous. The United States admits that on
         or about July 3, 2002 United American Holdings, Inc.
         filed an employment tax {Form 941) return for the tax
         period ending September 30, 2001.
   20.   These defendant interpreted those responses as confirming
   the defendant's inference as to which line items in the Complaint
   matched which taxes listed in the TFPR files produced by the
   plaintiff.   The defendant accepted the plaintiff's Admissions
   that United American Holdings, Inc. had filed the returns, and
   has based its strategy in the case on those Admissions.
   Specifically, the defendant concluded that the TFRPs covered by
   Requests for Admissions 20, 23, 26, 30, 35, 38, and 42 were time-
   barred, and has based its defense of this case upon the
   conclusion that the TFRPs were time-barred and no other defense
   to the TFRPs need be presented.
   21.   The plaintiff has been on notice since no later than
   November 24, 2014 that the defendant has relied on its
  Admissions.     For example, a Settlement Conference was held before
   Judge Hoppe on December 9, 2014.       Exhibit A (the portion of
   Exhibit A relevant to the United American Holdings, Inc. attached
   to the defendant's memorandum as Exhibit A) to the defendant's
   Settlement Conference memorandum, was delivered in person by me




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   to plaintiff's counsel in Washington, D.C. on 24, 2014.          It shows
   that the filing dates stated in Requests for Admissions 20, 23,
   26, 30, 35, 38, and 42, and that the plaintiff's limitations
   period calculation, on the basis of the Admissions, is the basis
   of the defendant's defense to the TFRPs related to the tax
   returns covered by Requests for Admissions 20, 23, 26, 30, 35,
   38, and 42.
   22.    On December 9, 2014, plaintiff's counsel stated that the
   defendant's statute of limitations argument was contradicted by
   IRS documents relating to a "collection due process hearing."
   Plaintiff's counsel claimed to be receiving over his telephone at
   the time he was making the argument.       Plaintiff's counsel said
   that he would provide the documents to the defendant by December
   16, but plaintiff has never produced the documents.
   23.    On December 19, 2014, in this Court, I argued that plaintiff
   had never produced the documents to which he referred on December
   9.    On December 24, 2014, this Court ordered plaintiff to
   "confirm with Wallis that all documents within its possession
  have been produced and appropriately Bates-numbered within thirty
   (30) days of the date of this order" (Docket No. 43, H 3}
   (emphasis added).    On January 23, 2015, defendant's counsel sent
  plaintiff's counsel the letter attached to the defendant's
  memorandum as Exhibit B, which does not confirm that the
  plaintiff has produced to defendant all of its documents.            In
   fact, the defendant has never produced the documents to which it
   referred on December 9, 2015, that defendant's counsel said he
  was then receiving on his telephone.        Further, the defendant




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   produced to the plaintiff over 10, 000 8500 pages of documents,
   none of which are Bates-numbered      in a way that defendant can
   print the documents with Bates numbers.        The documents produced
   by the plaintiff on September 30, 2014 were produced on a disk.
   The disk was not accessible, but required the defendant and
   counsel to download software from the internet to "unzip" the
   files.   Once unzipped, the disk contains 4313 separate .pdf
   files, each of which must opened (or at least clicked on) to
  print.    Assuming that each document could be opened and printed
   within one minute, it would take 72 hours to print the documents,
   or more than a full work week.      The defendant employed Small
   Business Financial Services (SBFS) to print the documents,
  because the task of printing the documents was so time-consuming,
   tedious, and expensive.     SBFS was not able to print the documents
   with Bates numbers (see Attachment A).       Defendant's counsel has
   repeatedly tried to print at his office the documents with Bates
  numbers, but he cannot get the numbers to print.          Defendant's
   counsel took one of the .pdf files to the Roanoke County library,
   and was able to print the file with Bates numbers.         However, it
   is not practical for defendant's counsel to print the 8500 pages
   at the library.
   24.   At this point in the case, the defendant doco not know which
  TFRru arc related to which ontitica,—bccauac the plaintiff has
   failed to respond to Interrogatory Ho.—5-,—even—though the
  defendant propounded Interrogatory Mo.—5 on April 21,—2014,—at
   the very beginning of the caac the defendant has requested that
   the plaintiff file a Stipulation identifying the TFRPs by entity




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   in lieu of an Amended Complaint, and plaintiff's counsel has said
   that he may file an Amended Complaint,
   25.   Already, apart from the motion to withdraw its Admissions,
   the plaintiff has sand-bagged1 the defendant, changing the case,
   concealing its nature, and misleading the defendant as to the
   true nature of the case, in at least three ways:
         o    The Complaint does not identify what entities
              were the source of which TFRPs. The
              defendant asked in its initial
              interrogatories (Interrogatory No. 5) the
              source of the TFRP liability. The plaintiff
              did not answer the interrogatory, but
              referred the defendant to the IRS' TFRP file,
              which the plaintiff did not then produce.
              Once the file was produced, the plaintiff
              propounded clear and direct Requests for
              Admissions as to the entity that filed 941
              tax returns and the date of the filing. The
              plaintiff unambiguously admitted the Requests
              for Admissions, leading the defendant to
              believe that the TFRPs were time-barred, but
              now, nine months later, seeks to withdraw its
              Admissions.
         o    The defendant's counsel claims to have
              received documents on his telephone on
              December 9, 2014, which show that the
              defendant participated in a collection due
              process hearing, which could have the effect,
              if defendant's claim is true, of tolling the
              limitations periods upon which the defendant
              relies. Defendant's counsel stated that it
              would provide the documents, but has failed
              to do so. On December 19, 2014, in this
              Court, defendant's counsel argued that
              plaintiff had never produced the documents to
              which he referred on December 9. On December
              24, 2014, this Court ordered plaintiff to
              "confirm with Wallis that all documents
              within its possession have been produced and
              appropriately Bates-numbered within thirty
              (30) days of the date of this order" (Docket
              No. 43, U 3) {emphasis added). On January

       1  In this context, meaning: "to downplay or misrepesent
  one's ability in a game or activity to deceive (someone),
  especially in gambling." www.thefreedictionary.com/sandbagged




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              23, 2015, defendant's counsel sent
              plaintiff's counsel the letter attached as
              Exhibit B, which does not confirm that the
              plaintiff has produced to defendant all of
              its documents. In fact, the defendant has
              never produced the documents to which it
              referred on December 9, 2015, that
              defendant's counsel said he was then
              receiving on his telephone. Further, the
              defendant produced to the plaintiff over
              10,000 pages of documents, none of which are
              Bates-numbered.
        0     On January 15, 2015, the defendant agreed to
              the deposition of William Pugh, a key witness
              in the case, for Friday, February 27, 2015,
              in Greensboro, North Carolina. On Thursday,
              February 19, 2015, during a telephone
              conference regarding deposition scheduling,
              plaintiff's counsel agreed to defendant's
              counsel's request to depose the plaintiff on
              March 31, 2015. On Monday, February 23, four
              days before the scheduled deposition of Pugh,
              defendant's counsel (without any notice to
              plaintiff's counsel) re-noticed Pugh's
              deposition for April 2, 2015, so that it
              would be after the plaintiff's deposition.
              Defendant's counsel intentionally misled
              plaintiff into agreeing to be deposed on
              March 31, on the pretext that it would be
              after Pugh's deposition, and then re-noticed
              the deposition without any notice to, or
              consultation with, plaintiff's counsel as to
              whether plaintiff agreed to the re-noticing
              of Pugh's deposition.
        1 make this declaration under Penalty of Perjury pursuant to
   28 U.S.C. § 1746.
                                     By: /s/ GARY M. BOWMAN

                                     April 1, 2015




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           Inbox (3443)                 • Re: WALLIS DOCUMENTS
           Drafts (183)
                                         SBFS                                                                                                        Mar 27 at 1017 AM
           Sent
           Spam (156)                     To me

           Trash (IB)                     CC William Wallis

         > Smart Views
         > Folders (10)                  Gary,
         > Recent                        I returned the jump drive containing the 1st set, and the CD containing the 2nd set to Bill. The format used
                                         for the 2 sets was entirely different.

                                         On the first set, we were sent individual PDF files.

                                         On the second set, they sent us a passworded zip file, for which I had to download a specific program from
                                         the internet in order to unzipped. Then I had to use a second specific program to read the unzipped files.

                                         I wish the first set had the page numbers, it would have made copying much easier.


                                         On 3/27/203.5 11:00 AM, gary bowman wrote;

                                                Hazel: You have printed two sets of documents for Bill Wallis. The first set does
                                                not have page numbers or Bates stamp numbers—or at least the printed pages you
                                                provided to Bill, who provided them to me, do not have Bates stamp numbers. Can you
                                                check the disc from the IRS and see if there are Bates stamp numbers that for some
                                                reason do not: appear on the printed pages? AGAIN—THIS RELATES TO THE FIRST SET OF
                                                DOCUMENTS. THE SECOND SET HAS BATES STAMP NUMBERS.   Sincerely, Gary.




1 of 1                                                                                                                                                          4/1/20158:25 AM
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